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 8
                                  UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES,                                   Case No. 2:12-CR-025 MCE
12
                    Plaintiff,                        MOTION TO TERMINATE PRETRIAL
13                                                    DIVERSION AND DISMISS
            v.                                        INDICTMENT, ORDER
14
     JOSEPH STANCIL,
15

16                  Defendant.

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19          The Government and defendant Joseph Stancil entered into a deferred prosecution

20   agreement in this matter in April 2012. The Court approved that agreement on April 26, 2012.

21   The agreements contemplated certain actions be undertaken by the defendant before the end of a

22   contemplated 18-month pretrial diversion period. Pretrial Services has advised that the defendant

23   has complied with all terms and conditions of supervision and has met all his obligations under

24   the pretrial diversion agreements. Thus, Pretrial Services recommends early termination of the

25   pretrial diversion period. The Government does not object.

26          Now, therefore, consistent with the terms of the pretrial diversion agreement, the

27   Government requests the Court terminate Joseph Stancil’s Pretrial Diversion. Further, under

28   Federal Rule of Criminal Procedure 48(a), and consistent with its obligations under the pretrial


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 1
     diversion agreement, the Government moves to dismiss the charges against Joseph Stancil in this
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     case, filed on January 26, 2012. (Docket Number 1.) The Government has consulted with
 3
     counsel for the defendant, Donald H. Heller and is authorized to represent that the defendant is
 4
     aware of the Government’s intent to dismiss the charges against him, and does not object to
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     disposition of the matter by the Court without further briefing or hearing on the matter.
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 7                                                        BENJAMIN B. WAGNER
     DATED: March 7, 2013                                 United States Attorney
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                                                  By: /s/ Jean M. Hobler
10                                                    JEAN M. HOBLER
                                                      Assistant United States Attorney
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 1
                                                      ORDER
 2
            Based on the Government’s motion and the representations contained therein, the Court
 3
     finds good cause to terminate the pretrial diversion period of defendant Joseph Stancil, and the
 4
     diversion period is TERMINATED. The Court further grants the Government’s motion under
 5
     Rule 48 of the Federal Rules of Criminal Procedure, and dismisses the charges in the Information
 6
     as to defendant Joseph Stancil.
 7
            IT IS SO ORDERED.
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     Dated: March 8, 2013
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11                                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                                 UNITED STATES DISTRICT JUDGE
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